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 6                      IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Alliance of Christian Leaders of the East          No. CV-19-04347-PHX-JJT
     Valley, et al.,
10                                                      ORDER
                    Plaintiffs,
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     v.
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     Patriot Movement AZ, et al.,
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                    Defendants.
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15          This matter having recently come before this Court,
16          IT IS ORDERED that motions to dismiss pursuant to Fed. R. Civ. P. 12(b) and
17   motions to strike pursuant to Fed. R. Civ. P. 12(f) are discouraged if the defect that would
18   be the subject of the motion can be cured by filing an amended pleading. Therefore, the
19   parties must meet and confer prior to the filing of a motion to dismiss or motion to strike
20   to determine whether it can be avoided. Consequently, motions to dismiss and motions to
21   strike must be accompanied by a notice of certification of conferral, indicating that the
22   parties have conferred to determine whether an amendment could cure a deficient pleading,
23   and have been unable to agree that the pleading is curable by a permissible amendment. In
24   addition, parties shall endeavor not to oppose motions to amend that are filed prior to the
25   Rule 16 Scheduling Conference or within the time set for the Rule 16 Case Management
26   Order. Motions to dismiss and motions to strike that do not contain the required
27   certification are subject to striking on the Court's own motion.
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 1         IT IS FURTHER ORDERED that Plaintiff shall serve a copy of this Order on
 2   Defendants.
 3         Dated this 4th day of June, 2019.
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 5                                        Honorable John J. Tuchi
                                          United States District Judge
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